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 9                          UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11                              SAN FRANCISCO DIVISION
12

13   IN RE: CATHODE RAY TUBE (CRT)           Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________    MDL No. 1917
     This Document Relates to:
15                                           [PROPOSED] ORDER GRANTING CLASS
                                             CERTIFICATION AND PRELIMINARY
16   DIRECT PURCHASER CLASS ACTIONS          APPROVAL OF CLASS ACTION
                                             SETTLEMENT WITH THE HITACHI
17                                           DEFENDANTS
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     [PROPOSED] ORDER GRANTING CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
     ACTION SETTLEMENT WITH THE HITACHI DEFENDANTS – 07-CV-5944-SC
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 1          On December 6, 2013, Plaintiffs filed a Motion for Preliminary Approval of Class Action

 2   Settlement with Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi America,

 3   Ltd., Hitachi Asia, Ltd., and Hitachi Electronic Devices (USA) Inc. (collectively “Hitachi”). The

 4   Court, having reviewed the motion, the settlement agreement, the pleadings and other papers on file in

 5   this action, and the statements of counsel and the parties, hereby finds that the motion should be

 6   GRANTED.

 7          NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

 8          1.      For purposes of this Order, except as otherwise set forth herein, the Court adopts and

 9   incorporates the definitions contained in the settlement agreement between Plaintiffs and Hitachi

10   dated, November 29, 2013 (“Settlement Agreement”).

11          2.      The Court hereby gives its preliminary approval to the Settlement Agreement, subject

12   to a hearing on the final approval of the Settlement Agreement (the “Fairness Hearing”).

13          3.      The Court finds that the settlement falls within the range of possible final approval and

14   that there is a sufficient basis for notifying the class of the proposed settlement and for setting a

15   Fairness Hearing.

16          4.      Pursuant to Federal Rule of Civil Procedure 23, the Court provisionally certifies the

17   following Settlement Class for settlement purposes only:

18                  All persons and entities who, between March 1, 1995 and November 25,
                    2007, directly purchased a CRT Product in the United States from any
19                  defendant or any subsidiary or affiliate thereof, or any co-conspirator.
                    Excluded from the Class are defendants, their parent companies,
20                  subsidiaries and affiliates, any co-conspirators, all governmental entities,
                    and any judges or justices assigned to hear any aspect of this action.
21

22          5.      CRT Products refers to all forms of Cathode Ray Tubes (CRTs), as well as electronic

23   devices that contain CRTs. It includes color picture tubes (CPTs), color display tubes (CDTs),

24   monochrome display tubes, and the finished products that contain CPTs and CDTs – televisions and

25   monitors. The Settlement Class definition as set forth above and as used in this order is for settlement

26   purposes only. It has no binding effect on the Court or on the Non-Settling Defendants for any other

27   purpose.

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     [PROPOSED] ORDER GRANTING CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
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 1          6.      The Court further provisionally finds that the prerequisites to a class action under Rule

 2   23 are satisfied for settlement purposes in that: (a) there are hundreds of geographically dispersed

 3   class members, making joinder of all members impracticable; (b) there are questions of law and fact

 4   common to the class which predominate over individual issues; (c) the claims or defenses of the class

 5   plaintiffs are typical of the claims or defenses of the class; (d) the plaintiffs will fairly and adequately

 6   protect the interests of the class, and have retained counsel experienced in antitrust class action

 7   litigation who have, and will continue to, adequately represent the class; and (e) a class action is

 8   superior to individual actions. Settling defendants will not be bound by the Settlement Class

 9   definition for any purpose other than this specific settlement with the direct purchaser class.

10          7.      The Court hereby appoints the Plaintiffs named in the Consolidated Amended

11   Complaint, filed March 16, 2009, as Representative Plaintiffs of the Settlement Class.

12          8.      The court appoints the law firm of Saveri & Saveri, Inc. to serve as Class Counsel for

13   the Settlement Class.

14          9.      The Court approves the form of the long form notice attached hereto as Exhibit A

15   (“Long Form Notice”). The Court also approves the form of the summary notice attached hereto as

16   Exhibit B (“Summary Notice”). The Court finds that taken together, mailing of the Long Form Notice

17   (U.S. Mail or electronic mail), publication of the Summary Notice, and internet posting of the Long

18   Form Notice are: (i) the best notice practicable; (ii) reasonably calculated, under the circumstances, to

19   apprise the Settlement Class members of the proposed settlement and of their right to object or to

20   exclude themselves as provided in the Settlement Agreement; (iii) reasonable and constitute due,

21   adequate, and sufficient notice to all persons entitled to receive notice; and (iv) meet all applicable

22   requirements of due process and any other applicable requirements under federal law.

23          10.     Plaintiffs’ claims administrator shall provide notice of the settlement to Settlement

24   Class members. The claims administrator shall provide direct notice of the settlement to all members

25   of the Settlement Class on or before a date set 14 days from the entry of this Order. Such notice shall

26   be sent either by first class U.S. mail postage prepaid or by electronic mail. The claims administrator

27   shall publish the Summary Notice in the national edition of the Wall Street Journal on or before a date

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     [PROPOSED] ORDER GRANTING CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
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 1   set 18 days from the entry of this Order. The Claims Administrator shall also cause a copy of the class

 2   notices and Settlement Agreement to be posted on the internet website

 3   www.CRTDirectPurchaserAntitrustSettlement.com.

 4            11.   Each Settlement Class member shall have the right to be excluded from the Settlement

 5   Class by mailing a request for exclusion to the claims administrator no later than a date set, at least

 6   forty-five (45) days after mailing of the direct notice. Requests for exclusion must be in writing and

 7   set forth the name and address of the person or entity who wishes to be excluded, as well as all trade

 8   names or business names and addresses used by such person or entity, and must be signed by the

 9   Settlement Class member seeking exclusion. No later than fourteen (14) days after the date set for

10   exclusions, Class Counsel shall file with the Court a list of all persons or entities who have timely

11   requested exclusion from the Settlement Class as provided in the Settlement Agreement. Settling

12   Defendants retain all of their legal rights to assert any defense, including lack of federal antitrust

13   standing, against any opt out plaintiff or other person not participating in the settlement.

14            12.   Any Settlement Class member who does not properly and timely request exclusion

15   from the Settlement Class as provided above shall, upon final approval of the settlement, be bound by

16   the terms and provisions of the Settlement so approved, including but not limited to the releases,

17   waivers, and covenants described in the agreement, whether or not such person or entity objected to

18   the settlement agreement and whether or not such person or entity makes a claim upon the settlement

19   funds.

20            13.   Each Settlement Class member who has not timely excluded itself from the settlement

21   shall have the right to object to (1) the settlement, and/or (2) the plan of allocation by filing written

22   objections with the Court no later than a date set at least forty-five (45) days after mailing direct

23   notice, copies of which shall be served on all counsel listed in the class notice. Failure to timely file

24   and serve written objections will preclude a class member from objecting to the settlement.

25            14.   Each class member as provided above shall have the right to appear at the Fairness

26   Hearing by filing a Notice of Intention to Appear no later than a date set at least forty-five (45) days

27   after mailing direct notice, copies of which shall be served on all counsel listed in the class notice.

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     [PROPOSED] ORDER GRANTING CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
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 1          15.     The Court will conduct a Fairness Hearing on a date set at least 120 days from the

 2   entry of this Order at ______. The Fairness Hearing will be conducted to determine the following:

 3                  a.      Whether the proposed settlement is fair, reasonable, and adequate and should
                            be granted final approval;
 4
                    b.      Whether final judgment should be entered dismissing the claims of the class
 5                          against Hitachi;
 6                  c.      Approval of the plan of allocation;
 7                  e.      Such other matters as the Court may deem appropriate.
 8          16.     Each member of the Settlement Class shall retain all rights and causes of action with

 9   respect to claims against all Defendants other than Hitachi and the entities defined as “Hitachi

10   Releasees” in the Settlement Agreement, regardless of whether such member of the Settlement Class

11   decides to remain in the Settlement Class or to exclude itself from the Settlement Class.

12          17.     All briefs, memoranda and papers in support of final approval of the settlement shall

13   be filed no later than twenty-one (21) days before the Fairness Hearing.

14          18.     Plaintiffs’ Counsel and their designees are authorized to expend funds from the escrow

15   accounts to pay taxes, tax expenses, notice, and administration costs as set forth in each of the

16   Settlement Agreement.

17          19.     All further direct purchaser class proceedings as to Hitachi are hereby stayed except

18   for any actions required to effectuate the settlement.

19          20.     The Court retains exclusive jurisdiction over this action to consider all further matters

20   arising out of or connected with the settlement.

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23   Dated: _____________________                             ________________________________
                                                              Hon. Samuel Conti
24                                                            United States District Judge
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     [PROPOSED] ORDER GRANTING CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
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            EXHIBIT A
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        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

       If You Bought A Cathode Ray Tube Product,
                    A Class Action Settlement May Affect You.
Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
       contain a Cathode Ray Tube such as Televisions and Computer Monitors.

     A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

•   A class action lawsuit that includes direct purchasers of CRT Products is currently
    pending.
•   Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an
    unlawful conspiracy to fix, raise, maintain or stabilize the prices of Cathode Ray Tubes.
    Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
    cathode ray tube from the Defendants may recover for the effect that the cathode ray tube
    conspiracy had on the prices of televisions and monitors. Plaintiffs allege that, as a result
    of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers
    paid more for CRT Products than they would have paid absent the conspiracy.
    Defendants deny Plaintiffs’ claims.
•   A Settlement has been reached with Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan
    Display Inc.), Hitachi America, Ltd., Hitachi Asia, Ltd., and Hitachi Electronic Devices
    (USA) Inc. The companies are together referred to as the “Settling Defendants.”
•   Your legal rights will be affected whether you act or don’t act. This Notice includes
    information on the Settlement and the continuing lawsuit. Please read the entire Notice
    carefully.
           These Rights and Options – and deadlines to exercise them –
                                are explained in this notice.
    You can object or comment on the Settlement                          see Question 10
    You may exclude yourself from the Settlement                         see Question 10
    You may go to a hearing and comment on the Settlement                see Question 14


•   The Court in charge of this case still has to decide whether to approve the Settlement.
    The case against the Non-Settling Defendants (identified below) continues.




                    For More Information: Call 1-877-224-3063 or Visit
                    www.CRTDirectPurchaserAntitrustSettlement.com
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Basic Information........................................................................................................... Page 3

          1. Why did I get this notice?

          2. Who are the Defendant companies?

          3. What is this lawsuit about?

          4. Why is there a Settlement but the litigation is continuing?

          5. What is a Cathode Ray Tube Product?

          6.    What is a class action?
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          7. How do I know if I’m part of the Settlement Class?

          8. What does the Settlement provide?

          9. When can I get a payment?

          10. What are my rights in the Settlement Class?

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          17. How do I get more information?



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                                     BASIC INFORMATION

1.     Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain
products containing those tubes between March 1, 1995 and November 25, 2007. A direct
purchaser is a person or business who bought a CRT, or a television or computer monitor
containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the
Court decides whether to approve the Settlement.

The notice explains the litigation, the settlement, and your legal rights.

The Court in charge of the case is the United States District Court for the Northern District of
California, and the case is called In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No.
1917. The people who sued are called Plaintiffs and the companies they sued are called
Defendants.

2.     Who are the Defendant companies?

The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG
Electronics Taiwan Taipei Co., Ltd., Koninklijke Philips Electronics N.V., Philips Electronics
North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia
Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung
Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI
America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen
Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America Consumer Products, L.L.C., Toshiba America
Information Systems, Inc., Toshiba America Electronic Components, Inc., Panasonic
Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of North America,
MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi,
Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi Electronic Devices (USA), Inc.,
Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture
Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd.,
Daewoo Electronics Corporation f/k/a Daewoo Electronics Company, Ltd., Daewoo
International Corporation, Irico Group Corporation, Irico Group Electronics Co., Ltd., and Irico
Display Devices Co., Ltd.




                        For More Information: Call 1-877-224-3063 or Visit
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3.     What is this lawsuit about?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of
CRTs and the CRTs contained in certain finished products for over ten years, resulting in
overcharges to direct purchasers of those CRTs and certain finished products containing CRTs.
The complaint describes how the Defendants and co-conspirators allegedly violated the U.S.
antitrust laws by establishing a global cartel that set artificially high prices for, and restricted the
supply of CRTs and the televisions and monitors that contained them. Defendants deny
Plaintiffs’ allegations. The Court has not decided who is right.
4.     Why is there a Settlement but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement
with Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display Inc.), Hitachi America, Ltd.,
Hitachi Asia, Ltd., and Hitachi Electronic Devices (USA) Inc. Plaintiffs have also reached five
previous settlements with Chunghwa Picture Tubes Ltd., and Chunghwa Picture Tubes
(Malaysia) Sdn. Bhd.; Koninklijke Philips Electronics N.V., Philips Electronics North America
Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips da Amazonia Industria
Electronica Ltda.; Panasonic Corporation (f/k/a Matsushita Electric Industrial, Ltd.), Panasonic
Corporation of North America, and MT Picture Display Co., Ltd. (this settlement also releases
Beijing-Matsushita Color CRT Company, Ltd.); LG Electronics, Inc., LG Electronics U.S.A.,
Inc., and LG Electronics Taiwan Taipei Co., Ltd. (this settlement also releases LP Displays
International, Ltd. f/k/a LG.Philips Displays.); and Toshiba Corporation, Toshiba America
Information Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba America
Electronic Components, Inc. The five previous settlements have been finally approved by the
Court. The case is continuing against the remaining Non-Settling Defendants. Additional money
may become available in the future as a result of a trial or future settlements, but there is no
guarantee that this will happen.

5.     What is a Cathode Ray Tube Product?
For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of
any type (e.g. color display tubes and color picture tubes) and finished products which contain
Cathode Ray Tubes, such as Televisions and Computer Monitors.
6.     What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who
have similar claims. All these people are members of the class, except for those who exclude
themselves from the class.

If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be
notified about those settlements, if any, at that time. Important information about the case will be
posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com as it becomes
available. Please check the website to be kept informed about any future developments.
                         For More Information: Call 1-877-224-3063 or Visit
                         www.CRTDirectPurchaserAntitrustSettlement.com
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                                    THE SETTLEMENT CLASS

7.     How do I know if I’m part of the Settlement Class?

The Settlement Class includes:

All persons and entities who, between March 1, 1995 and November 25, 2007, directly
purchased a CRT Product in the United States from any defendant or subsidiary or affiliate
thereof, or any co-conspirator. (“Settlement Class”).

8.     What does the Settlement provide?

This Settlement provides for a payment in the amount of $13,450,000 in cash to the Settlement
Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing certain
information about the allegations in the complaint. In addition, the Settling Defendants’ sales
remain in the case for the purpose of computing damages against the remaining non-settling
Defendants.

                   More details are in the Settlement Agreement, available at
                  www.CRTDirectPurchaserAntitrustSettlement.com.

9.     When can I get a payment?

No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit
against the Non-Settling Defendants to see if any future settlements or judgments can be
obtained in the case and then be distributed together, to reduce expenses.

Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be
notified in the future when and where to send a claim form. DO NOT SEND ANY CLAIMS
NOW.

In the future, each class member’s pro rata share of the Settlement Fund will be determined by
computing each valid claimant’s total CRT Product purchases divided by the total valid CRT
Product purchases claimed. This percentage is multiplied to the Net Settlement Fund (total
settlements minus all costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata
share of the Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPTs and
CDTs) are calculated at full value while CRT televisions are valued at 50% and CRT computer
monitors are valued at 75%.

In summary, all valid claimants will share in the settlement funds on a pro rata basis determined
by the CRT value of the product you purchased - tubes 100%, monitors 75% and televisions
50%.


                       For More Information: Call 1-877-224-3063 or Visit
                       www.CRTDirectPurchaserAntitrustSettlement.com
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10.     What are my rights with regard to the Settlement Class?

Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you
do not need to take any action at this time.

Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling
Defendants about the claims in this case, you must exclude yourself from the Settlement Class.
You will not get any money from the settlement if you exclude yourself from the Settlement
Class.

To exclude yourself from the Settlement Class, you must send a letter that includes the
following:
    • Your name, address and telephone number,
    • A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT)
       Antitrust Litigation, MDL No. 1917, Hitachi Settlement; and
    • Your signature.

You must mail your exclusion request, postmarked no later than _________________, to:

                                        CRT Direct Settlement
                                          P.O. Box 808003
                                         Petaluma, CA 94975

Remain in the Settlement Class and Object: If you have comments about, or disagree with,
any aspect of the Settlement, you may express your views to the Court by writing to the address
below. The written response needs to include your name, address, telephone number, the case
name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief
explanation of your reasons for objection, and your signature. The response must be postmarked
no later than _________________ and mailed to:

           COURT                        INTERIM LEAD                COUNSEL FOR
                                          COUNSEL                      SETTLING
                                                                     DEFENDANTS
 Honorable Samuel Conti            Guido Saveri                    James H. Mutchnik
 United States District Court      R. Alexander Saveri             Kirkland & Ellis LLP
 Northern District of California
 San Francisco Division            SAVERI & SAVERI, INC.           300 North LaSalle
 450 Golden Gate Avenue            706 Sansome Street              Chicago, IL 60654
 Courtroom 3, 17th floor           San Francisco, CA 94111
 San Francisco, CA 94102



                          For More Information: Call 1-877-224-3063 or Visit
                          www.CRTDirectPurchaserAntitrustSettlement.com
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11.    What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants (or
any of the related entities that are released in the Settlement Agreement), or be part of any other
lawsuit against these Settling Defendants about the legal issues in this case. It also means that all
of the decisions by the Court will bind you. The “Release of Claims” includes any causes of
actions asserted or that could have been asserted in the lawsuit, as described more fully in the
Settlement       Agreement.        The      Settlement      Agreement       is       available     at
www.CRTDirectPurchaserAntitrustSettlement.com.

                        THE SETTLEMENT APPROVAL HEARING

12.    When and where will the Court decide whether to approve the Settlement?

The Court will hold a Fairness Hearing at ______on _________ 2014, at the United States
District Court for the Northern District of California, San Francisco Division, in Courtroom 1 on
the 17th Floor,on 450 Golden Gate Ave. The hearing may be moved to a different date or time
without additional notice, so it is a good idea to check the class website for information. At this
hearing, the Court will consider whether the Settlement is fair, reasonable and adequate. If there
are objections or comments, the Court will consider them at that time. After the hearing, the
Court will decide whether to approve the Settlement. We do not know how long these decisions
will take.


13.    Do I have to come to the hearing?

No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome
to come at your own expense. If you send an objection or comment, you don’t have to come to
Court to talk about it. As long as you mailed your written objection on time, the Court will
consider it. You may also pay another lawyer to attend, but it’s not required.


14.     May I speak at the hearing?

If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval
Hearing, you must give the Court a paper that is called a “Notice of Appearance.” The Notice of
Appearance should include the name and number of the lawsuit (In re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the
Fairness Hearing. It also must include your name, address, telephone number, and signature.
Your “Notice of Appearance” must be postmarked no later than __________________. You
cannot speak at Hearing if you previously asked to be excluded from the Settlement.

The Notice of Appearance must be sent to the addresses listed in Question 10.
                        For More Information: Call 1-877-224-3063 or Visit
                        www.CRTDirectPurchaserAntitrustSettlement.com
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                         THE LAWYERS REPRESENTING YOU

15.    Do I have a lawyer in the case?

Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim
Lead Counsel.” You do not have to pay Interim Lead Counsel. If you want to be represented by
your own lawyers, and have that lawyer appear in court for you in this case, you may hire one at
your own expense.

16.    How will the lawyers be paid?

Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead
Counsel will ask the Court for attorneys’ fees not to exceed one-third (33.3%) of this or any
future Settlement Fund plus reimbursement of their costs and expenses, in accordance with the
provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount
be paid to each of the Class Representatives who helped the lawyers on behalf of the whole
Class.


                            GETTING MORE INFORMATION

17.    How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the
lawsuit and Settlement at www.CRTDirectPurchaserAntitrustSettlement.com., by
calling 1-877-224-3063, or writing to CRT Direct Settlement, P.O. Box 808003, Petaluma, CA
94975. Please do not contact the Court about this case.

Dated: _________________                                   BY ORDER OF THE COURT




                       For More Information: Call 1-877-224-3063 or Visit
                       www.CRTDirectPurchaserAntitrustSettlement.com
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             EXHIBIT B
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                                     LEGAL NOTICE
        If You Bought A Cathode Ray Tube (“CRT”) or CRT Product, A Class Action
                               Settlement May Affect You.
                         ______________________________________________________

     CRT Products include Televisions or Computer Monitors that contain Cathode Ray Tubes
A settlement has been reached with a group of             distributed to Class members at this time. The
defendants in a class action lawsuit involving CRTs       lawyers will pursue the lawsuit against the other
and CRT Products. This is the sixth settlement to         Defendants to see if any future settlements or
date. CRT stands for “Cathode Ray Tube.” “Cathode         judgments can be obtained in the case and then be
Ray Tube (CRT) Products” include Cathode Ray              distributed together, to reduce expenses.
Tubes and finished products that contain a Cathode
                                                                           What are my rights?
Ray Tube such as Televisions and Computer
Monitors.                                                 If you wish to remain a member of the Settlement
                                                          Class you do not need to take any action at this time.
             What is this lawsuit about?
                                                          If you do not want to be legally bound by the
The lawsuit alleges that Defendants and Co-               Settlement, you must exclude yourself in writing by
Conspirators engaged in an unlawful conspiracy to         _______________, or you will not be able to sue, or
fix, raise, maintain or stabilize the prices of CRTs.     continue to sue, the Settling Defendants about the
Plaintiffs further claim that direct purchasers of        legal claims in this case.
televisions and monitors that contain a cathode ray
tube from the Defendants may recover for the effect       If you wish to comment on or disagree with any
that the cathode ray tube conspiracy had on the prices    aspect of the proposed settlement, you must do so in
                                                          writing no later than ___________. The Settlement
of televisions and monitors. Plaintiffs allege that, as
result of the unlawful conspiracy, they and other         Agreement, along with details on how to object to
direct purchasers paid more for CRT Products than         them, is available at
                                                          www.CRTDirectPurchaserAntitrustSettlement.com.
they would have absent the conspiracy. Defendants
deny Plaintiffs’ claims.                                  The U.S. District Court for the Northern District of
                                                          California will hold a Fairness Hearing at ____ on
          Who’s included in the settlement?               ______________, at the U.S. District Court for the
                                                          Northern District of California, 450 Golden Gate
The Settlement includes all persons and entities who,
                                                          Ave., San Francisco, CA 94102, Courtroom 1, 17th
between March 1, 1995 and November 25, 2007,
                                                          Floor.The hearing may be moved to a different date
directly purchased a CRT Product in the United
                                                          or time without additional notice, so it is a good idea
States from any defendant or subsidiary or affiliate
                                                          to check the class website for information.
thereof (“Settlement Class”).
                                                          The Court has appointed the law firm of Saveri &
          Who are the Settling Defendants?
                                                          Saveri, Inc. to represent Direct Purchaser Class
A Settlement has been reached with Defendants             members as Interim Lead Class Counsel. At the
Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan        Fairness Hearing, the Court will consider whether the
Display Inc.), Hitachi America, Ltd., Hitachi Asia,       Settlement is fair, reasonable and adequate. If there
Ltd., and Hitachi Electronic Devices (USA) Inc.           are objections or comments, the Court will consider
(collectively “Hitachi” or “Settling Defendants”). A      them at that time. You may appear at the hearing, but
complete list of Defendants is set out in the Long        don’t have to. We do not know how long these
Form of Notice available at                               decisions will take. Please do not contact the Court
www.CRTDirectPurchaserAntitrustSettlement.com.            about this case.
         What does the Settlement provide?
                                                          This is a Summary Notice. For more details, call toll
The Settlement provides for the payment of                free 1-877-224-3063, visit
$13,450,000 in cash to the Settlement Class. The          www.CRTDirectPurchaserAntitrustSettlement.com.,
Settling Defendants agreed to cooperate with the          or write to CRT Direct Settlement, P.O. Box 808003,
Plaintiffs in providing certain information about the     Petaluma, CA94975.
allegations in the Complaint. Money will not be
